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    'AO 2458 (CASD) (Rev. 1/12)    Judgment in a Criminal Case
                                                                                                                                  FILED
               Sheet 1


                                                                                                                             CLERK US DISTRiCT COURT
                                              UNITED STATES DISTRICT COUR                                                      ERN DISTRICT OF CALIFORNIA
                                                                                                                                                         DEPUTY
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                    UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or After November 1, 1987)

                         CYNTHIA VARELA (38)                                       Case Number: 12CR0236-lEG
                                                                                    ROBERT BOYCE
                                                                                   Defendant's Attorney
    REGISTRATION NO. 30262298

    D
    THE DEFENDANT:
    181 pleaded guilty to count(s) ONE OF THE INDICTMENT
     D    was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not gUilty.
          Accordingly, the defendant is adjudged gUilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
    Title & Section                          Nature ofOtTense                                                                               Number(s)
18 USC J962(d)                         Conspiracy to Conduct Enterprise Affairs Through a Pattern of Racketeering                              1
                                       Activity




        The defendant is sentenced as provided in pages 2 through _ _4:...-_ of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D    The defendant has been found not gUilty on count(s)
                                                            ----------------------------------­
 D Count(s)________________________ is DareD dismissed on the motion ofthe United States.
 181 Assessment: $100.00

 181 Fine waived                                      D Forfeiture pursuant to order filed                                     , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                                12CR0236-lEG
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AO 245B (CASD) (Rev, 1112)   Judgment in a Criminal Case
            Sheet 2 -- Imprisonment
                                                                                            Judgment ~ Page _ _2 _ of         4
 DEFENDANT: CYNTHIA VARELA (38)
 CASE NUMBER: 12CR0236-IEG
                                                            IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         33 MONTHS



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    ~ The court makes the following recommendations to the Bureau of Prisons:
         Court recommends that the defendant be designated to an institution in the Western Region ofthe United States.




    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                      Da.m.    Dp·m.    on
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before
                 -----------------------------------------------------------
       o as notified by the United States Marshal.
       o as notified by the Probation or Pretrial Services Office.
                                                               RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                to

 at ____________________ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL


                                                                     By _________~~~~~~~--__----------­
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                    12CR0236-IEG
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"
    AO 245B (CASD) (Rev. 1/12) Judgment in a Criminal Case
               Sheet 3 - Supervised Release
                                                                                                                   Judgment Page ~ of _ _4:..-_ _
    DEFENDANT: CYNTHIA VARELA (38)
    CASE NUMBER: 12CR0236-IEG
                                                               SUPERVISED RELEASE
    Upon release from imprisonment, the defendant shall be on supervised release for a term of:
    3 YEARS.

             The defendant shall report to "the probation office in the district to which the defendant is released within 72 bours of release from
    the custody of the Bureau of Prisons.
    The defendant shaH not commit another federal, state or local crime.
    For offinses committed on or after September 13. 1994:
    The defendant shaH not iIIegaHy possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
    substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug ~ests
    thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_ drug tests per month dunng
    the term of supervision, unless otherwise ordered by court.
    o       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
            future substance abuse. (Check, if applicable,)
            The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
            The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
            Backlog Elimination Act of 2000, pursuant to 18USC sections 3563(a)(7) and 3583(d).                                                          .
            The defendant shall comply with tlie requirements ofthe Sex Offender'Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
            by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
            was convicted of a qualifying offense. (Check if applicable.)
    o       The defendant sball participate in an approved program for domestic violence. (Check, if applicable.)
              If tbis judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such rme
    or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
    forth in this judgment.
             The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
    any special conditions imposed.

                                             STANDARD CONDITIONS OF SUPERVISION
      I)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
      2)      the defendant sball report to the probation officer in a manncr and frcquency dirccted by the court or probation officer;
      3)      the defendant shaH answer truthfuHy all inquiries by the probation officer and follow the instructions of the probation officer;
      4)      the defendant shaH support his or her dependents and meet other family responsibilities;
      5)      the defendant shall work regularly at a lawful occupation, unless excused by tbe probation officer for scbooling, training, or other
              acceptable reasons;
      6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
              controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
              a felony, unless granted permission to do so by the probation officer;
     ) 0)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
              contraband observed in plain view of tbe probation officer;
     11)      the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
     12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency witbout the
              permission of the court; and
     13)      as directed by the probation officer, the defendant sball notify third parties ofrisks that may be occasioned by the defendant's criminal
              record or personal history or characteristics and shall permit the probation officer to make sucb notifications and to confirm the
              defendant's compliance with such notification requirement.

                                                                                                                                             12CR0236-IEG
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       AO 245B ICASD) (Rev. 1112) Judgment in a Criminal Case
                  Sheet 4 - Special Conditions
                                                                                                       Judgment   Page ----i...- of _--,-4_ _
       DEFENDANT: CYNTHIA VARELA (38)                                                             II
       CASE NUMBER: 12CR0236-IEG




                                             SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a .
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
D If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
D Not enter the Republic of Mexico without written permission ofthe Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
D Participate in a program of mental health treatment as directed by the probation officer, take al\ medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
181 Provide complete disclosure of personal and business financial records to the probation officer as requested.
o Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
  probation officer.
D Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within          days.
D Complete           hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
D Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer. based on the defendant's ability to pay.




                                                                                                                                    12CR0236-IEG
